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                      Case 8:04-cr-00235-DKC Document 1729 Filed 12/10/14 Page 1 of 1

AO 247 (Rev. \1/1\)    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S,C. ~ 3582(c)(2)            Page \ of2 (Page 2 Not for Public Disclosure)



                                          UNITED STATES DISTRICT COURT
                                                                           for the

                                                                 District of Maryland


                      United States of America
                                    v.                                        )
                              Lavon Dobie                                     j Case No: R_WT
                                                                                          __ -0_4_-0_2_35                                                          _
                                                                       )           USM No:        3_8_3_60_-_03_7                                            _
Date of Original Judgment:                            11/19/2010       )
Date of Previous Amended Judgment:                 __ 1_1/_2_0/_2_0_12
                                                                 __    )           Sapna Mirchandani
(Use Date of Last Amended Judgment if Any)                                         Defendant's Allorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. ~ 3582(c)(2)
          Upon motion of         III the defendant D the Director of the Bureau of Prisons D the court under 18 U.S.C.
~ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
~ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG ~ I B 1.10
and the sentencing factors set forth in 18 U.S.C. ~ 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
          DDENIED.             IIIGRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of        170                                   months is red uccd to            _1_5_2_m_o_n_t_hs                         _
                                                (Complete Parts / and If of Page 2 when motion is granted)



 The sentence for count one is reduced from 110 months to 92 months. The sentence for counts 34,47,50,
 53, and 57 is 48 months, to run concurrently to the sentence for count one. The sentence for count 61 is 60
 months, to run consecutively to the other terms, for a total of 152 months.




Except as otherwise provided, all provisions of the judgment dated
IT IS SO ORDERED.
                                                                                       /~~
                                                                                               11/20/2012
                                                                                                           _.--
Order Date:           cYecem         kr 15 JO I tt-I
Effective Date:                11/01/2015                                         The Honorable Roger W. Titus, U.S. District Judge
                       (if different from order date)                                                     Printed name and title
